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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


DANIEL LIBIT,
                                                                    No. 23 Civ. 00845 (KMK)
                                     Plaintiff,

               -v-                                                  STIPULATION AND
                                                                    ORDER ON
UNITED STATES MILITARY ACADEMY and                                  CONSENT
ARMY WEST POINT ATHLETIC ASSOCIATION,

                                     Defendants.




       Plaintiff Daniel Libit ("Libit"), Defendant United States Military Academy ("USMA") and

Defendant Army West Point Athletic Association ("A WP AA") (collectively, the "Parties"), by and

through their undersigned counsel, hereby stipulate and agree as follows:

       WHEREAS in 2022, Libit submitted several FOIA requests (collectively, the "Requests")

addressed to both Defendants, and another addressed to USMA individually, seeking various

records concerning USMA's intercollegiate athletics programs; and

       WHEREAS USMA and A WP AA denied the Requests at the administrative level; and

       WHEREAS Libit filed a complaint in February 2023 alleging that A WP AA is an agency

within the meaning of FOIA and all of its records are "agency records" subject to FOIA disclosure,

and further alleging that all of the records sought from both defendants are agency records within

the custody and control of USMA; and

       WHEREAS A WP AA denies that it is an agency subject to FOIA and Defendants deny that

they have violated FOIA, but Defendants desire to resolve their dispute with Libit over the




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question of whether A WP AA is subject to FOIA without the cost, burden and disruption of further

litigation over this issue;

           NOW, THEREFORE, the Parties hereby stipulate and agree that:

           1.      A WP AA will search for records within its custody and control that are responsive to

the Requests addressed to A WP AA as if it were subject to FOIA, and produce responsive, non-

exempt records, and will consult with USMA or refer records or requests to USMA for processing

as appropriate, pursuant to a production schedule to be agreed upon by the Parties.

           2.      In response to future FOIA requests addressed to it, by any party, AWP AA will

similarly search for responsive records within its custody and control, produce responsive, non-

exempt records, as if it were subject to FOIA and all of its procedures, such as the time limits

imposed by FOIA, and will consult with USMA or refer records or requests to USMA for

processing as appropriate, and will do so unless and until A WP AA or a successor organization

obtains a judicial declaration that it is not an agency within the meaning of FOIA. A WP AA

reserves its right to seek such a judicial declaration, upon notice to Li bit or his counsel, in the

future .

           3.      USMA will search the records within its custody and control that are responsive to

the Requests addressed to USMA, and will consult with A WP AA or refer records or requests to

A WP AA for processing as appropriate, and produce responsive, non-exempt records, pursuant to a

production schedule to be agreed upon by the Parties;

           4.      After the productions of responsive records are complete, the Parties will promptly

meet and confer to determine whether any issues remain for litigation, and if so, propose a

schedule for briefing to the Court on any unresolved issues;

           5.      The Court will retain jurisdiction over the above-captioned case pending the

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                                                       Counsel for Defendant United States Military
The Parties are directed to provide a status report by Academy
7/20/23.

   So Ordered.




   Dated: 6/20/23




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